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UNITED STATES DISTRICT COURT |
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SOUTHERN DISTRICT OF NEW YORK DOC #:
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(2 es El LED: SUG)
UNITED STATES OF AMERICA : SEALED INFORMATION
- Vv. - L7 Cr.

JORDAN FOGEL,

Defendant.

 

COUNT ONE
(Conspiracy to Convert Property of the United States, to Commit
Securities Fraud and to Defraud the United States)

The United States Attorney charges:
Overview of the Scheme

1. At all times relevant to this Information, Investment
Advisor-A was a privately held group of associated fund advisors
specializing in healthcare-related investments. As of 2017,
Investment Advisor-A managed three active hedge funds and had more
than $7 billion in assets under management. Investment Advisor-
A’s primary place of business was New York, New York.

2. At all times relevant to this Information, JORDAN FOGEL,
the defendant, was a partner and an analyst at Investment Advisor-
A.

3. From at least in or about 2012 through at least in or

about 2014, JORDAN FOGEL, the defendant, and others known and
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unknown, participated in a scheme to obtain and convert to their
own use confidential and material non-public information from the
Centers for Medicare & Medicaid Services (“CMS”), a component of
the United States Department of Health and Human Services,
concerning, among other things, CMS’s internal deliberations
regarding coverage and reimbursement decisions. As a part of the
scheme, FOGEL and others encouraged “political intelligence”
consultants, including a co-conspirator not named as a defendant
herein (“CC-1”), to obtain confidential and material non-public
information from CMS insiders who, as FOGEL knew, were CC-l1’s
former colleagues with whom he had close personal relationships,
and were prohibited from disclosing such information to CMS
outsiders. FOGEL and others caused Investment Advisor-A to confer
a pecuniary benefit upon CC-1 in the form of consulting fees in
exchange, in part, for the confidential and material non-public
information that CC-1 improperly obtained from CMS insiders. FOGEL
and others then caused Investment Advisor-A to buy and sell
securities based, in whole or in part, on the confidential and
material non-public information provided by CC-1.

Statutory Allegations

 

4. From at least in or about 2012 through at least in or
about 2014, in the Southern District of New York and elsewhere,
JORDAN FOGEL, the defendant, and others known and unknown,

willfully and knowingly combined, conspired, confederated, and
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agreed together and with each other to commit offenses against the
United States, to wit, conversion of United States property, in
violation of Title 18, United States Code, Section 641; and
securities fraud, in violation of Title 15, United States Code,
Sections 78j(b) and 78ff, and Title 17, Code of Federal
Regulations, Section 240.10b-5; and to defraud the United States
and an agency thereof, to wit, CMS, in violation of Title 18,
United States Code, Section 371 and Title 5, Code of Federal
Regulations, Section 2635.703(a).

5. It was a part and an object of the conspiracy that JORDAN
FOGEL, the defendant, and others known and unknown, knowingly would
and did embezzle, steal, purloin, and convert to his use and the
use of others records, vouchers, money, and things of value of the
United States and a department and agency thereof, to wit, CMS,
the value of which exceeded the sum of $1,000, and would and did
receive, conceal, and retain the same with intent to convert it to
his use and gain, knowing it to have been embezzled, stolen,
purloined and converted, in violation of Title 18, United States
Code, Section 641.

6. It was further a part and an object of the conspiracy
that JORDAN FOGEL, the defendant, and others known and unknown,
willfully and knowingly, directly and indirectly, by use of the
means and instrumentalities of interstate commerce, and of the

mails, and the facilities of national securities exchanges, would
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and did use and employ, in connection with the purchase and sale
of securities, manipulative and deceptive devices and
contrivances, in violation of Title 17, Code of Federal
Regulations, Section 240.10b-5, by (a) employing devices, schemes
and artifices to defraud; (b) making and causing to be made untrue
statements of material fact and omitting to state material facts
necessary in order to make the statements made, in light of the
circumstances under which they were made, not misleading; and (c)
engaging in acts, practices, and courses of business which operated
and would operate as a fraud and deceit upon other persons, in
violation of Title 15, United States Code, Sections 78j(b) and
TREE ,

7. It was further a part and an object of the conspiracy
that JORDAN FOGEL, the defendant, and others known and unknown,
willfully and knowingly, using deceit, craft, trickery and
dishonest means, would and did defraud the United States and an
agency thereof, to wit, CMS, by obtaining confidential information
about CMS’s internal deliberations in advance of the agency’s
rulemaking decisions, thereby impeding, impairing, defeating and
obstructing the lawful function of the agency, in violation of
Title 18, United States Code, Section 371 and Title 5, Code of

Federal Regulations, Section 2635.703(a).
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Overt Act
8. In furtherance of the conspiracy and to effect its

illegal objects, JORDAN FOGEL, the defendant, committed the
following overt act, among others, in the Southern District of New
York and elsewhere:

a. On or about June 25, 2013, FOGEL and Cc-1
communicated by email while FOGEL was in New York, New York.

(Title 18, United States Code, Section 371.)

COUNT TWO
(Conversion of Property of the United States)

The United States Attorney further charges:

9. The allegations contained in paragraphs 1 through 3 and
8 of this Information are repeated and realleged as though fully
set forth herein.

10. From at least in or about May 2012 through at least in
or about July 2012, in the Southern District of New York and
elsewhere, JORDAN FOGEL, the defendant, knowingly embezzled,
stole, purloined, and converted to his use and the use of others
records, vouchers, money, and things of value of the United States
and a department and agency thereof, to wit, CMS, the value of
which exceeded the sum of $1,000, and received, concealed, and
retained the same with intent to convert it to his use and gain,
knowing it to have been embezzled, stolen, purloined, and

converted, to wit, FOGEL received confidential CMS information
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about CMS’s proposed radiation oncology rule from CC-1, which FOGEL
knew had been improperly obtained from CMS, and which FOGEL and
others used, in whole or in part, to cause Investment Advisor-A to
purchase and sell securities.

(Title 18, United States Code, Sections 641 and 2.)

COUNT THREE
(Conversion of Property of the United States)

The United States Attorney further charges:

11. The allegations contained in paragraphs 1 through 3 and
8 of this Information are repeated and realleged as though fully
set forth herein.

12. From at least in or about January 2013 through at least
in or about July 2013, in the Southern District of New York and
elsewhere, JORDAN FOGEL, the defendant, knowingly embezzled,
stole, purloined, and converted to his use and the use of others
records, vouchers, money, and things of value of the United States
and a department and agency thereof, to wit, CMS, the value of
which exceeded the sum of $1,000, and received, concealed, and
retained the same with intent to convert it to his use and gain,
knowing it to have been embezzled, stolen, purloined, and
converted, to wit, FOGEL received confidential CMS reports with
CMS‘s internal data analysis and confidential information about
CMS's internal deliberations and data analysis in advance of the

proposed kidney dialysis rule from CC-1, which FOGEL knew had been
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improperly obtained from CMS, and which FOGEL and others used, in
whole or in part, to cause Investment Advisor-A to purchase and
sell securities.

(Title 18, United States Code, Sections 641 and 2.)

COUNT FOUR
(Securities Fraud)

The United States Attorney further charges:

13. The allegations contained in paragraphs 1 through 3 and
8 of this Information are repeated and realleged as though fully
set forth herein.

14. From at least in or about May 2012 through at least in
or about July 2012, in the Southern District of New York and
elsewhere, JORDAN FOGEL, the defendant, willfully and knowingly,
directly and indirectly, by use of the means and instrumentalities
of interstate commerce, and of the mails, and the facilities of
national securities exchanges, used and employed, in connection
with the purchase and sale of securities, manipulative and
deceptive devices and contrivances, in violation of Title 17, Code
of Federal Regulations, Section 240.10b-5, by (a) employing
devices, schemes, and artifices to defraud; (b) making and causing
to be made untrue statements of material fact and omitting to state
material facts necessary in order to make the statements made, in
light of the circumstances under which they were made, not

misleading; and (c) engaging in acts, practices, and courses of
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business which operated and would operate as a fraud and deceit
upon other persons, to wit, in advance of the July 1, 2012 public
announcement by CMS about proposed radiation oncology cuts, CC-1
obtained material non-public information regarding the status of
CMS’s internal deliberations and plans for a proposed CMS rule,
and tipped FOGEL, who, based in whole or in part on that
information, caused Investment Advisor-A to execute securities
transactions in the stock of Varian Medical Systems, a corporation
headquartered in Palo Alto, California whose stock traded on the
New York Stock Exchange (“NYSE”) under the ticker symbol “VAR.”
(Title 15, United States Code, Sections 78j(b) & 78ff;
Title 17, Code of Federal Regulations, Section 240.10b-5; and

Title 18, United States Code, Section 2.)

COUNT FIVE
(Securities Fraud)

The United States Attorney further charges:

15. The allegations contained in paragraphs 1 through 3 and
8 of this Information are repeated and realleged as though fully
set forth herein.

16. From at least in or about January 2013 through at least
in or about July 2013, in the Southern District of New York and
elsewhere, JORDAN FOGEL, the defendant, willfully and knowingly,
directly and indirectly, by use of the means and instrumentalities
of interstate commerce, and of the mails, and the facilities of

national securities exchanges, used and employed, in connection
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with the purchase and sale of securities, manipulative and
deceptive devices and contrivances, in violation of Title 17, Code
of Federal Regulations, Section 240.10b-5, by (a) employing
devices, schemes, and artifices to defraud; (b) making and causing
to be made untrue statements of material fact and omitting to state
material facts necessary in order to make the statements made, in
light of the circumstances under which they were made, not
misleading; and (c) engaging in acts, practices, and courses of
business which operated and would operate as a fraud and deceit
upon other persons, to wit, in advance of the July 6, 2013 public
announcement by CMS of its proposed kidney dialysis cuts, CC-1
obtained material non-public information regarding CMS’s internal
data and plans for the proposed rule, and tipped FOGEL, who, based
in whole or in part on that information, caused Investment Advisor-
A to execute securities transactions in the American Depository
Receipts of Fresenius Medical Care AG & Co. KGaA, a corporation
headquartered in Bad Homburg, Germany, which traded on the NYSE
under the ticker “FMS.”
(Title 15, United States Code, Sections 78j(b) & 78ff;

Title 17, Code of Federal Regulations, Section 240.10b-5; and
Title 18, United States Code, Section 2.)
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COUNT SIX
(Conspiracy to Commit Wire Fraud)

The United States Attorney further charges:

17. The allegations contained in paragraphs 1 through 3 and
8 of this Information are repeated and realleged as though fully
set forth herein.

18. From at least in or about 2012 through at least in or
about 2014, in the Southern District of New York and elsewhere,
JORDAN FOGEL, the defendant, and others known and unknown,
willfully and knowingly did combine, conspire, confederate, and
agree together and with each other to commit wire fraud, in
violation of Title 18, United States Code, Section 1343.

19. It was a part and an object of the conspiracy that JORDAN
FOGEL, the defendant, and others known and unknown, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by means
of false and fraudulent pretenses, representations, and promises,
would and did transmit and cause to be transmitted by means of
wire, radio, and television communication in interstate and
foreign commerce, writings, signs, signals, pictures, and sounds
for the purpose of executing such scheme and artifice, in violation
of Title 18, United States Code, Section 1343.

(Title 18, United States Code, Section 1349.)

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FORFEITURE ALLEGATION

20. As a result of committing the offenses alleged in
Counts One through Six of this Information, JORDAN FOGEL, the
defendant, shall forfeit to the United States pursuant to Title
18, United States Code, Section 981(a)(1)(C) and Title 28,
United States Code, Section 2461(c), any and all property, real
and personal, that constitutes or is derived from proceeds
traceable to the commission of said offenses, including but not
limited to a sum of money in United States currency representing
the amount of proceeds traceable to the commission of said
offenses.

Substitute Assets Provision

 

21. If any of the above-described forfeitable property, as
a result of any act or omission of JORDAN FOGEL, the defendant,
a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited

with, a third party;

Cc. has been placed beyond the jurisdiction of the
court;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be divided without difficulty,

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it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p), and Title 28, United States
Code Section 2461(c), to seek forfeiture of any other property
of FOGEL up to the value of the forfeitable property described

above.

(Title 18, United States Code, Section 981(a) (1) (C);
Title 21, United States Code, Section 853 (p);
Title 28, United States Code, Section 2461.)

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JOON H. KIM
Acting United States Attorney

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Form No. USA-33s-274 (Ed. 9-25-58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
Vv.

JORDAN FOGEL,

Defendant.

 

SEALED INFORMATION
Lv Cr.

(15 U.S.C. 88 78) (b) & 78f£;
17 C.F.R. § 240.10b-5;
18 U.S.C. §§ 371, 641, 1349 & 2;
5 C.F.R. § 2635.703(a).)

JOON H. KIM
Acting United States Attorney

 
